     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.1 Page 1 of 11



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5

6

7

8                             UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA

                                                                               '13CV1964 BEN RBB
10
      JONATHAN SAPAN,                                         Case No.:
11
                                                              COMPLAINT FOR DAMAGES,
12                    Plaintiff,                              INCLUDING PUNITIVE
                                                              DAMAGES, INTEREST AND
13            vs.                                             ATTORNEY’S FEES, AND
                                                              FOR INJUNCTIVE RELIEF
14
      ZAPPER CREDIT SOLUTIONS, LLC, a                         Violation(s) of Telephone
15
      Nevada Limited Liability Company,                       Consumer
                                                              Protection Act of 1991
16    NEVADA STATE CORPORATE                                  Trespass to Chattel
17
      NETWORK, INC., a Nevada corporation,                    Unfair Business Practices
      GRAIG ZAPPER, an individual,
18

19                    Defendants.
20

21

22

23

24

25

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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.2 Page 2 of 11




1            COMES NOW Plaintiff JONATHAN SAPAN (hereinafter referred to as
2     “Plaintiff”) who alleges as follows:
3

4
                               JURISDICTIONAL ALLEGATIONS
5            1.     Plaintiff is, and at all times herein mentioned was, a resident of the
6
      County of San Diego, State of California.
7

8            2.     Defendants ZAPPER CREDIT SOLUTIONS, LLC and NEVADA
9
      STATE CORPORATE NETWORK, INCORPORATED are, and at all times
10

11    herein mentioned were, Nevada business entities based in Las Vegas, Nevada and
12
      doing business in the County of San Diego, State of California.
13
             3.     Plaintiff is informed and believes and on such information and belief
14

15    alleges that Defendant GRAIG ZAPPER is, and at all times herein mentioned was
16
      a resident of the state of Nevada doing business in the County of San Diego, State
17

18    of California.
19
             4.     Plaintiff is informed and believes and on such information and belief
20

21
      alleges that Defendant GRAIG ZAPPER is the owner of all other Defendant

22    business entities.
23
             5.     This case is filed pursuant to the Telephone Consumer Protection Act
24

25    of 1991, 47 U.S.C. §227 et. seq. The U.S. Supreme Court recently decided that
26
      federals courts have federal question subject matter jurisdiction over such civil
27

28    actions under 28 U.S.C. §§ 1331 and 1441. Mims v. Arrow Fin. Services, LLC, --


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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.3 Page 3 of 11




1
      U.S. --, 132 S.Ct. 740, 753 (2012). The state law claims herein arise out of a

2     common nucleus of operative facts and are subject to supplemental jurisdiction
3
      pursuant to 28 U.S.C. § 1367.
4

5            6.     At all times herein mentioned each defendant was the partner, agent
6
      and employee of each co-defendant herein and was at all times acting within the
7

8     scope of such partnership, agency and employment and each defendant ratified the
9
      conduct of each co-defendant herein.
10

11

12                                      FACTUAL SUMMARY
13
             7.     On or about September 8, 2010 at 4:00 P.M., Mr. Sapan received a
14

15    prerecorded call to his home phone number from Defendants.
16
             8.     The recording that played after the call went to voicemail attempted to
17

18
      sell Defendants’ credit and debt services.

19           9.     The recording gave a callback number of 888-564-0213.
20
             10. The Caller ID for this call listed the calling number as 425-587-1016
21

22    and it falsely listed the calling name as “Unknown” rather than using any of
23
      Defendants’ names.
24

25           11. Mr. Sapan received five more calls from Defendants that transmitted
26
      the exact same prerecorded message giving the exact same callback number but
27
      with slightly differing Caller ID information as follows:
28



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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.4 Page 4 of 11




1                           9/28/10 9:04am, CID 701-217-1632 / “Unknown”
                            10/12/10 1:25pm, CID 701-217-1632 / “Name Unavailable”
2
                            11/19/10 9:58am , CID 406-351-4170 / “Unavailable”
3                           1/12/11 9:58am, CID 612-808-5605 / “Name Unavailable”
4                           1/24/11 10:52am, CID 612-808-5605 / “Name Unavailable”
5
             12. Mr. Sapan’s home phone number has been listed on the National Do
6
      Not Call Registry maintained by the Federal Trade Commission since January 18,
7

8     2011.
9
             13. Mr. Sapan’s home phone line was tied up and rendered unusable
10

11    during all of Defendants’ calls.
12

13

14
                                  FIRST CAUSE OF ACTION
                    [Violation of Telephone Consumer Protection Act of 1991]
15

16

17
             14. Plaintiff realleges all paragraphs above and incorporates them herein
18
      by reference.
19

20           15. Plaintiff is bringing this action pursuant to the provisions of the
21
      Telephone Consumer Protection Act of 1991 (47 U.S.C. §227 and 47 C.F.R.
22

23    §64.1200 – “TCPA”).
24
             16. Subdivision (b) (1) (B) of Section 227 of Title 47 of the United States
25

26
      Code makes it unlawful for any person to “initiate any telephone call to any

27    residential telephone line using an artificial or prerecorded voice to deliver a
28



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                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.5 Page 5 of 11




1
      message without the prior express consent of the called party, unless the call is

2     initiated for emergency purposes or is exempted by rule or order of the
3
      Commission under paragraph (2) (B);”
4

5            17. Defendants have called Plaintiff’s residential telephone line, using an
6
      artificial or prerecorded voice to deliver a message, without Plaintiff’s express
7

8     permission during the statutory period of the last 4 years, pursuant to 28 U.S.C. §
9
      1658. These calls are the only calls known to Plaintiff at this time and Plaintiff
10
      states on information and belief, without yet having the aid of full discovery, that
11

12    it is quite likely that Defendant has made many more violative calls to Plaintiff’s
13
      residential telephone line. These calls were not made for any emergency purpose,
14

15    nor were these calls exempt under subdivisions (a) and/or (c) of section 64.1200
16
      of title 47 of the Code of Federal Regulations.
17

18
             18. Subdivision (b)(3) of section 227 of title 47 of the United States Code

19    permits a private right of action in state court for violations of 47 U.S.C. §227 (b)
20
      (1) (B). Plaintiff may obtain relief in the form of injunctive relief, or Plaintiff may
21

22    recover $500.00 for each violation, or both. If the court finds that defendants'
23
      violations were willful or knowing, it may, in its discretion, award up to three
24

25    times that amount.
26
     ///
27
     ///
28



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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.6 Page 6 of 11




1
                                SECOND CAUSE OF ACTION
                    [Violation of Telephone Consumer Protection Act of 1991]
2

3            19. Plaintiff realleges all paragraphs above and incorporates them herein
4
      by reference.
5

6
             20. Plaintiff is bringing this action pursuant to the provisions of the

7     Telephone Consumer Protection Act of 1991 (47 U.S.C. §227 and 47 C.F.R.
8
      §64.1200 – “TCPA”).
9

10           21. Subdivision (c) (2) of Section 64.1200 of Title 47 of the Code of
11
      Federal Regulations makes it unlawful for any person to “initiate any telephone
12

13
      solicitation” to “A residential telephone subscriber who has registered his or her
14
      telephone number on the national do-not-call registry of persons who do not wish
15
      to receive telephone solicitations”.
16

17           22. At all times relevant to this complaint, Plaintiff had registered his
18
      residential telephone number on the national do-not-call registry maintained by
19

20    the U.S. Government.
21
             23. Defendants have called Plaintiff’s residential telephone line for
22

23
      solicitation purposes during the statutory period of the last 4 years, pursuant to 28

24    U.S.C. § 1658. These calls are the only calls known to Plaintiff at this time and
25
      Plaintiff states on information and belief, without yet having the aid of full
26

27    discovery, that it is quite likely that Defendant has made many more violative
28
      calls to Plaintiff’s residential telephone line. These calls were not made in error,

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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.7 Page 7 of 11




1
      nor did Defendant have express permission from Plaintiff to call, nor did

2     Defendant have a personal relationship with Plaintiff. 37 C.F.R. § 64.1200 (c) (2)
3
      (i-iii).
4

5            24. Subdivision (c)(5) of section 227 of title 47 of the United States Code
6
      permits a private right of action in state court for violations the national do-not-
7

8     call registry rules promulgated thereunder. Plaintiff may obtain relief in the form
9
      of injunctive relief, or Plaintiff may recover $500.00 for each violation, or both. If
10
      the court finds that defendants' violations were willful or knowing, it may, in its
11

12    discretion, award up to three times that amount.
13

14

15                                THIRD CAUSE OF ACTION
                    [Violation(s) of California Civil Code § 1770 (a) (22) (A)]
16

17           25. Plaintiff realleges all paragraphs above and incorporates them herein
18
      by reference.
19

20           26. California Civil Code § 1770 (a) (22) (A) requires that all recorded
21
      messages disseminated within the state be introduced by a live, natural voice
22

23
      giving the name of the entity calling, the name of the entity being represented, an

24    address or phone number for that entity, and asking permission to play the
25
      recording. Defendant’s illegal prerecorded telemarketing calls to Plaintiff failed
26

27    to comply with this requirement.
28



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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.8 Page 8 of 11




1
             27. As a proximate result of defendants’ violation of Civil Code section

2     1770, plaintiff has suffered and continues to suffer damages in an amount not yet
3
      ascertained, to be proven at trial.
4

5            28. Civil Code section 1780 (a) (2) provides for an injunction against
6
      future conduct in violation of Civil Code section 1770.
7

8            29. Civil Code section 1780 (a) (4) provides for an award of punitive
9
      damages for violations of Civil Code section 1770.
10
             30. Civil Code section 1780 (d) provides for an award of attorneys fees for
11

12    plaintiffs harmed by California Civil Code §1770 (a) (22) (A) violations.
13

14

15                                 FOURTH CAUSE OF ACTION
                                       [Trespass to Chattel]
16

17           31. Plaintiff realleges all paragraphs above and incorporates them herein
18
      by reference.
19

20           32. The conduct by defendants complained of herein, namely illegally
21
      calling Plaintiff’s phone, constitutes an electronic trespass to chattel.
22

23
             33. At no time did Plaintiff consent to this trespass.

24           34. As a proximate result of these intrusions, Plaintiff suffered damage in
25
      an amount according to proof.
26

27           35. In making the illegal calls described above, defendants were guilty of
28
      oppression and malice, in that defendants made said calls with the intent to vex,

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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.9 Page 9 of 11




1
      injure, or annoy Plaintiff or with a willful and conscious disregard of Plaintiff's

2     rights. Plaintiff therefore seeks an award of punitive damages.
3

4

5                                   FIFTH CAUSE OF ACTION
6
                                [Engaging in Unfair Business Practices]

7            36. Plaintiff realleges all paragraphs above and incorporates them herein
8
      by reference.
9

10           37. Because these telephone calls violate federal statutes, they are unlawful
11
      business practices within the meaning of section 17200 of the Business and
12

13
      Professions Code.
14
             38. Section 17203 of the Business and Professions Code entitles Plaintiff
15
      to an injunction enjoining defendants from engaging in unfair or unlawful
16

17    business practices.
18

19
             WHEREFORE Plaintiff prays for judgment against defendants, and each of
20

21    them, as follows:
22
     On the FIRST CAUSE OF ACTION:
23

24
             1.      For an award of $500.00 for each violation of 47 U.S.C. §227;

25           2.      For an award of $1,500.00 for each such violation found to have been
26
                     willful;
27

28   ///

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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.10 Page 10 of 11




1
     On the SECOND CAUSE OF ACTION:

2            3.      For an award of $500.00 for each violation of 47 U.S.C. §227;
3
             4.      For an award of $1,500.00 for each such violation found to have been
4

5                    willful;
6
      On the THIRD CAUSE OF ACTION:
7

8            5.      For compensatory damages according to proof;
9
             6.      For preliminary and permanent injunctions, enjoining Defendants, and
10
                     each of them, from engaging in activity in violation of California Civil
11

12                   Code §1770 (a) (22) (A);
13
             7.      For punitive damages;
14

15           8.      For attorneys fees;
16
      On the FOURTH CAUSE OF ACTION:
17

18
             9.      For compensatory damages according to proof;

19           10.     For punitive damages;
20
      On the FIFTH CAUSE OF ACTION:
21

22           11.     For preliminary and permanent injunctions, enjoining Defendants, and
23
                     each of them, from engaging in unfair or unlawful business practices
24

25                   pursuant to section 17203 of the Business and Professions Code;
26
      ///
27
      ///
28



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     ________________________________________________________________________________________________________

                                                    Complaint
     Case 3:13-cv-01964-BEN-RBB Document 1 Filed 08/22/13 PageID.11 Page 11 of 11




1
      On ALL CAUSES OF ACTION:

2            12.     For attorney’s fees pursuant to California Code of Civil Procedure §
3
                     1021.5.
4

5            13.     For costs of suit herein incurred; and
6
             14.     For such further relief as the Court deems proper.
7

8

9    DATED: 8/22/13                                          PRATO & REICHMAN, APC
10

11
                                                             _/s/ Christopher J. Reichman_______
12
                                                             By: Christopher J. Reichman, Esq.
13                                                           Prato & Reichman, APC
14
                                                             Attorneys for Plaintiff
                                                             JONATHAN SAPAN
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     ________________________________________________________________________________________________________

                                                    Complaint
